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     MICHAEL CHASTAINE, State Bar #121209
1    THE CHASTAINE LAW OFFICE
     2377 Gold Meadow Way, Suite 100
2    Gold River, CA 95670
     Telephone: 916-732-7150
3
     Attorney for Defendant
4
     Anita Sharma
5
6                         IN THE UNITED STATES DISTRICT COURT
7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                             ) Case No.: 2:13-CR- 84 TLN
     UNITED STATES OF AMERICA,                )
10                                            ) WAIVER OF DEFENDANT’S
                   Plaintiff,                 ) PRESENCE
11                                            )
           v.                                 )
12                                            )
     ANITA SHARMA, et al.                     )
13                                            )
                   Defendants.                )
14
15
           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the
16
     defendant, Anita Sharma hereby waives the right to be present in person in open
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     court upon the hearing of any motion or other proceeding in this case, including,
18
     but not limited to, when the case is set for trial, when a continuance is ordered, and
19
     when any other action is taken by the court before or after trial, except upon
20
     arraignment, plea, empanelment of jury and imposition of sentence. Defendant
21
     hereby requests the Court to proceed during every absence of her which the Court
22
     may permit pursuant to this waiver; agrees that her interests will be deemed
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     represented at all times by the presence of her attorney, the same as if defendant
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25
     were personally present; and further agrees to be present in court ready for trial any

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     day and hour the Court may fix in her absence.

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1          Defendant further acknowledges that she has been informed of her rights
2    under Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes her attorney
3    to set times and delays under that Act without defendant being present.
4
5    Dated: April 26, 2013                          ___/s/Anita Sharma___
6                                                   Anita Sharma
7                                                   (Original retained by Attorney.)
8
9    I agree with and consent to my client’s waiver of appearance.
10
11   Dated: April 26, 2013                          Michael Chastaine /s/_______
12
                                                    Michael Chastaine
13
                                                    Attorney for Anita Sharma
14
15
           IT IS SO ORDERED.
16
17
     Dated: April 29, 2013
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22                                                Troy L. Nunley
                                                  United States District Judge
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